                                                                                                                  (Rev. 8/13/09)

                                                United States Bankruptcy Court
                                    for the Northern District of California, San Jose Division

    In re BRANDON CAVANAUGH and                                       Case No.__________________
                                                                              14-53564 MEH


    KEISHA CAVANAUGH
    ___________________________________                               AMENDED CHAPTER 13 PLAN
               Debtor(s)

    1.     Plan Payments by Debtor. The future earnings of the debtor(s) are submitted to the
    supervision and control of the trustee.
    The debtor(s) will pay to the trustee [ pay order direct pay] the sum of $_______________
                                                                              310.00

    each month.

    2.     Disbursements by Trustee.                         From the payments received, the trustee will make
    disbursements as follows:

            (a) On allowed claims for expenses of administration required by 11 U.S.C. § 507(a)(2). Initial
            attorneys fees are requested in the amount of $___________.
                                                           5,650.00


            (b) On allowed secured claims, which will be treated and valued, as follows:

Creditor                Collateral              Compromise of Claim      Value of     Estimated   Adequate     Time Value of
                                                Described in             Collateral   Arrears     Protection   Money (Interest)
                                                §1325(a)(9)

Ally Financial (2420)   2009 Chevrolet Cobalt
                                                                           6,482                   50.00            4%




             (c) The debtor(s) propose the following compromise modifying the amounts payable on
             secured claims provided in paragraph 2(b). The debtor(s) acknowledge that this plan provision
             does not alter the other rights provided to holders of secured claims pursuant to 11 U.S.C. §§
             506 and 1325(a)(5)(b) or in the event of conversion.

                        Creditor                                         Collateral               Value




             (d) On allowed priority unsecured claims specified in 11 U.S.C. § 507.
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             (e) On allowed general unsecured claims, as follows:
                     □ A percentage plan at the rate of ___ cents on the dollar. The estimated term of the
                           plan is _____ months.
                     □ A pot plan, paying the sum of $______payable
                                                      18,600.00      over ___
                                                                          60   months, distributed pro rata,
                           in amounts determined after allowed administrative, secured and priority
                           unsecured claims are paid. The plan payments will continue at the highest
                           monthly payment amount provided in paragraph 1 as necessary to complete the
                           plan within 60 months of confirmation.

3.      Rejection of Executory Contracts and Leases and Surrender of Secured Collateral. The
debtor(s) elect to reject the following executory contracts or leases and surrender to the named creditor(s)
the personal or real property that serves as collateral for a claim. The debtor(s) waive the protections of
the automatic stay and consent to allow the named creditor(s) to obtain possession and dispose of the
following identified property or collateral without further order of the court. Any allowed unsecured claim
for damages resulting from rejection will be paid in accordance with paragraph 2(e).

 Creditor                                        Collateral/Executory contracts or leases
         Bank of America (4141)                        3073 Helena Way, Marina CA




4.     Direct Payments by Debtor. The debtor(s) will pay directly the following secured creditors,
lessors, or creditors holding long-term debt:

 Creditor                                        Monthly Payment




5.     Effective Date of Plan. The date this case was filed will be the effective date of the plan as well
as the date when interest ceases accruing on unsecured claims against the estate.


6.     Vesting of Estate Property. The debtor(s) elect to have property of the estate revest in the
debtor(s):
           at such time as a discharge is granted or the case is dismissed.
           upon plan confirmation.
Once property revests, the debtor may sell or refinance real or personal property without further order of
the court, upon approval of the chapter 13 trustee.


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7.       Additional Provisions. The debtor(s) further propose, pursuant to 11 U.S.C. §1322(b):




I certify that this Chapter 13 Plan is a verbatim replica of the Chapter 13 Plan (Rev. 8/13/09), promulgated
pursuant to B.L.R. 1007-1 and approved for use in the San Jose Division of the Northern District of
California.


Respectfully submitted,


Dated:                                Signature:
November 4, 2014                      /s/ Brandon Cavanaugh
                                                                 (debtor)
Dated:                                Signature:
November 4, 2014                      /s/ Keisha Cavanaugh
                                                                 (debtor)


Dated:                                Signature:
November 4, 2014                      /s/ Stephen H. Kim
                                                          (attorney for debtor(s))




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                              Notice to Creditors Regarding Plan Provisions


Binding Effect of the Plan: The plan will be binding upon creditors if approved at a confirmation
hearing. You should review the plan carefully as your legal rights may be affected. You may wish to seek
legal advice to understand its terms and to protect your rights.

Written Objection to Confirmation: If you disagree with the terms of this plan, you must file a written
objection with the U.S. Bankruptcy Court by the date of the Meeting of Creditors and serve it upon the
trustee and debtor’s attorney or, if not represented by an attorney, the debtor. If you fail to file a timely
written objection to confirmation of this plan and the plan is confirmed by the court, you will be bound by
its terms.

Plan Payment: The debtor must make the first payment proposed by the plan within 30 days after the plan
is filed or the order for relief is entered, whichever is earlier, or the case may be dismissed without further
notice.

Proof of Claim: To receive payments, you must file a proof of claim. You may file the proof of claim
electronically if you are a registered participant for electronic filing. If not, a blank claim form is enclosed
for your use. The form must be fully executed, legible and you must attach any required documentation.
It must be filed with the court and served upon the debtor’s attorney or, if not represented by an attorney,
the debtor.

Distribution of Funds: Payments will be disbursed by the chapter 13 trustee consistent with 11 U.S.C. §
1326(b)(1) and according to the plan. Creditors secured by personal property will receive adequate
protection payments contemporaneous with other administrative claims. Non-administrative priority and
unsecured claims under 11 U.S.C. § 507 will be made in their order of priority, except that allowed claims
under § 507(a)(1)(B) which may be listed as an optional provision of the plan will be paid after other
priority claims. Payments must be credited in accordance with the terms of the plan and § 524(i).

Treatment of Secured Claims: The valuations shown will be binding unless a timely objection to
confirmation is filed. Secured claims will be allowed for the value of the collateral or the amount of the
claim, whichever is less. The remaining balance of any partially-secured claim will be treated as a general
unsecured claim. If the time value of money (interest rate) is not specified, it will be paid at an annual rate
of seven percent (7%).

Adequate Protection Payments: Subject to the trustee’s monthly disbursement cycle, the trustee will
disburse adequate protection payments commencing within 30 days after a proof of claim is properly filed,
documenting the nature and extent of a claimed lien. Adequate protection payments may be no less than
the monthly depreciation of the collateral.

Proposed Compromise: If the debtor has proposed a compromise affecting your collateral, you may
either accept, reject or renegotiate the proposed compromise. If you reach an agreement, the resulting
claim will be treated as a secured claim under § 506 and the plan may be confirmed. If you do not
affirmatively agree, you must file an objection to confirmation (see above), and the confirmation hearing
will be continued for consideration of a modified plan.
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